Case 1:22-cv-00520-MAV-JJM   Document 383-4   Filed 05/20/25   Page 1 of 63




                      EXHIBIT C
  Case 1:22-cv-00520-MAV-JJM                     Document 383-4                 Filed 05/20/25             Page 2 of 63


From:            Nicole Austin
To:              Kirstie A. Means; Spencer Durland; Meredith Vacca; Thomas R. Southard; John Lyle; Katelyn Popp
Cc:              Hanft, Gideon A.; Firsenbaum, Ross; Perio, Ryanne; jbrudin@rudinlaw.com; James P. Blenk; Brian C. Mahoney;
                 buffalo 5 plaintiff counsel@list.wilmerhale.com; Jennifer C. Persico
Subject:         Final Jury Instructions and Special Verdict Form
Date:            Sunday, April 6, 2025 6:25:46 PM
Attachments:     image001.png
                 external.png
                 Final Jury Instructions - Walker v. County of Erie.docx
                 Special Verdict Sheet - Walker v. County of Erie.docx




Good evening, Counsel,

Attached are the Final Jury Instructions and Special Verdict Sheet that will be the subject of
the charge conference tomorrow at 8:30am.

Nicole W. Austin
Law Clerk to Judge Meredith A. Vacca
Western District of New York
Kenneth B. Keating Federal Building
100 State Street, Rochester, NY 14614
O: 585-613-4374 | FAX: 716-613-4375
www.nywd.uscourts.gov

From: Kirstie A. Means <kmeans@lippes.com>
Sent: Sunday, April 6, 2025 5:58 PM
To: Spencer Durland <sdurland@hooverdurland.com>; Meredith Vacca
<Meredith_Vacca@nywd.uscourts.gov>; Thomas R. Southard <tsouthard@lippes.com>; Nicole Austin
<Nicole_Austin@nywd.uscourts.gov>; John Lyle <John_Lyle@nywd.uscourts.gov>; Katelyn Popp
<Katelyn_Popp@nywd.uscourts.gov>
Cc: Hanft, Gideon A. <Gideon.Hanft@wilmerhale.com>; Firsenbaum, Ross
<Ross.Firsenbaum@wilmerhale.com>; Perio, Ryanne <Ryanne.Perio@wilmerhale.com>;
jbrudin@rudinlaw.com; James P. Blenk <jblenk@lippes.com>; Brian C. Mahoney
<bmahoney@lippes.com>; buffalo_5_plaintiff_counsel@list.wilmerhale.com; Jennifer C. Persico
<jpersico@lippes.com>
Subject: RE: DX 707 and DX 697

CAUTION - EXTERNAL:



Dear Judge Vacca:

Attached please find a copy of the County’s response and objections to Plaintiff’s Supplemental Requests to
Charge, filed moments ago at Docket 357.
Case 1:22-cv-00520-MAV-JJM   Document 383-4   Filed 05/20/25   Page 3 of 63
  Case 1:22-cv-00520-MAV-JJM           Document 383-4        Filed 05/20/25      Page 4 of 63


To: Thomas R. Southard <tsouthard@lippes.com>; Nicole Austin <Nicole_Austin@nywd.uscourts.gov>;
John Lyle <John_Lyle@nywd.uscourts.gov>; Katelyn Popp <Katelyn_Popp@nywd.uscourts.gov>
Cc: Hanft, Gideon A. <Gideon.Hanft@wilmerhale.com>; Kirstie A. Means <kmeans@lippes.com>;
Spencer Durland <sdurland@hooverdurland.com>; Firsenbaum, Ross
<Ross.Firsenbaum@wilmerhale.com>; Perio, Ryanne <Ryanne.Perio@wilmerhale.com>;
jbrudin@rudinlaw.com; James P. Blenk <jblenk@lippes.com>; Brian C. Mahoney
<bmahoney@lippes.com>; buffalo_5_plaintiff_counsel@list.wilmerhale.com; Jennifer C. Persico
<jpersico@lippes.com>
Subject: Re: DX 707 and DX 697


Counsel:

I will get you the proposed verdict sheet and final instructions later today. A few things I
wanted to bring up now.

If counsel can please come up with a mutually agreeable list of exhibits that can be sent
back to the jury during deliberations when requested in a note. Please bring to court
tomorrow morning. If such an exhibit is requested by the jury, we would send it back
without reconvening and put it on the record the next time we meet in court.

I will not be allowing Plaintiff to recommend a certain dollar figure or range in their
summation. We will put this on the record tomorrow morning.

Also, heads up for tomorrow morning. We have Grand Jury empanelment which means that
there will be a lot of people going through the magnetometers starting at 8 am. I am told it
will probably take an hour for everyone to go through.

Thank you!



Get Outlook for iOS

From: Thomas R. Southard <tsouthard@lippes.com>
Sent: Friday, April 4, 2025 9:51:48 AM
To: Nicole Austin <Nicole_Austin@nywd.uscourts.gov>; John Lyle <John_Lyle@nywd.uscourts.gov>;
Katelyn Popp <Katelyn_Popp@nywd.uscourts.gov>; Meredith Vacca
<Meredith_Vacca@nywd.uscourts.gov>
Cc: Hanft, Gideon A. <Gideon.Hanft@wilmerhale.com>; Kirstie A. Means <kmeans@lippes.com>;
Spencer Durland <sdurland@hooverdurland.com>; Firsenbaum, Ross
<Ross.Firsenbaum@wilmerhale.com>; Perio, Ryanne <Ryanne.Perio@wilmerhale.com>;
jbrudin@rudinlaw.com <jbrudin@rudinlaw.com>; James P. Blenk <jblenk@lippes.com>; Brian C.
Mahoney <bmahoney@lippes.com>; buffalo_5_plaintiff_counsel@list.wilmerhale.com
     Case 1:22-cv-00520-MAV-JJM             Document 383-4           Filed 05/20/25       Page 5 of 63


<buffalo_5_plaintiff_counsel@list.wilmerhale.com>; Jennifer C. Persico <jpersico@lippes.com>
Subject: DX 707 and DX 697

CAUTION - EXTERNAL:


Dear Judge Vacca,

Please see the below link to a share drive that contains DX 707 (Guadagno Deposition Transcript)
and DX 697 (Cosgrove Deposition Transcript) highlighted for the County’s deposition
designations and Plaintiff’s counter designations that were received in evidence on April 3.




Thank you,

Tom Southard
Thomas R. Southard   ​




Associate
 P




50 Fountain Plaza, Suite 1700
Buffalo, NY 14202‑2216

ph: 716.853.5100 ext. 1258 | fx: 716.853.5199
tsouthard@lippes.com | lippes.com
LinkedIn  //  Facebook

This email message, including attachments, are confidential and may be protected by the attorney/client or
other applicable privileges. The information is intended to be conveyed only to the designated recipient(s)
of the email message. Unauthorized use, dissemination, distribution or reproduction of this message by
anyone other than the intended recipient(s) is strictly prohibited and may be unlawful. If you are not an
intended recipient, please notify the sender immediately, delete the message from your email system, and
destroy any other copies in your possession.

CAUTION - EXTERNAL EMAIL: This email originated outside the Judiciary. Exercise caution
when opening attachments or clicking on links.


CAUTION - EXTERNAL EMAIL: This email originated outside the Judiciary. Exercise caution when
opening attachments or clicking on links.
 Case 1:22-cv-00520-MAV-JJM   Document 383-4   Filed 05/20/25   Page 6 of 63




                FINAL JURY INSTRUCTIONS

I.   General Instructions

     Members of the jury, following summations, it now becomes

my duty to instruct you as to the law applicable to this case.

Before doing so, I would like to commend all of you for your

patience and attention during the course of this trial. I would also

like to commend the attorneys for the very able manner in which

each has carried out their responsibility as an advocate. You have

now received all the evidence that is to be presented in this case,

and through the attorneys’ closing arguments or summations, you

have learned the conclusions which each side believes should be

drawn from this evidence. It is now very important that you listen

carefully to my final instructions to you.

     A lawsuit is a civilized method of determining differences

between parties. It is basic to the administration of any system of
                                   -1-
 Case 1:22-cv-00520-MAV-JJM   Document 383-4    Filed 05/20/25   Page 7 of 63




justice that the determination on both the law and facts be made

fairly and honestly. You as the jury and I as the Judge, therefore,

have a very important responsibility – to ensure that a just result

is reached in the determination of the differences between the

Plaintiff and the Defendant in this case.

     We have now arrived at that phase of your work where you

will be instructed on the law and then retire to the jury room for

your final deliberations. You will find that my instructions are

divided into two main parts: first, a general statement of the law

applicable to all jury trials in civil cases; and then second, a

statement of the law that is applicable to this particular case.

     During their summations, the attorneys suggested to you

certain inferences and conclusions that you might reasonably and

logically draw from the evidence.              The summations of the

attorneys are, of course, not evidence. However, if the arguments

of the parties strike you as reasonable and logical and supported
                                   -2-
 Case 1:22-cv-00520-MAV-JJM   Document 383-4   Filed 05/20/25   Page 8 of 63




by the evidence, you may, if you so conclude, adopt them. On

the other hand, if you find such arguments to be unreasonable or

illogical or unsupported by the evidence, you may, if you so

conclude, reject them. In the last analysis, it is your function as

the jury to draw your own inferences and conclusions from the

evidence, as you recollect the evidence, and as you find such

evidence credible and believable.

     Keep in mind that you, as the jury, are the sole and exclusive

judge of the facts. It is your duty to decide each and every issue

of fact which has arisen during the course of the trial. No one,

not the attorneys, nor the Court, may presume to tell you how the

issues of fact should be decided. I repeat that you and you alone,

are the sole and exclusive judge of the facts. I am the sole and

exclusive judge of the law. These responsibilities are separate

and distinct, and each is of equal importance. As the judge of the

law, it has been my function to regulate the course of the trial and
                                   -3-
 Case 1:22-cv-00520-MAV-JJM   Document 383-4   Filed 05/20/25   Page 9 of 63




to determine what evidence, under the law, was admissible. My

rulings in each instance were based solely upon the law. My other

function is, of course, to instruct you on the law specifically

applicable to this case.

     As I have stated before, my instructions to you on the law

must be accepted by you whether you agree with them or not. If

you have any ideas of your own of what the law is, or what you

think it should be, it is now your duty, pursuant to the oath you

took as jurors, to disregard your own ideas of the law, and to

accept the law exactly as I give it to you. Please remember that

all of us are all bound by the laws of our Country exactly as those

laws provide.

     I may during these instructions by the level of my voice or

by intonation seem to emphasize certain matters. That is simply

to help you understand the important principles of law. It is not

intended to communicate any opinion about the facts.
                                   -4-
 Case 1:22-cv-00520-MAV-JJM   Document 383-4   Filed 05/20/25   Page 10 of 63




     During these instructions, I will not review or summarize the

evidence. If necessary, I may refer to particular evidence to

explain the law that relates to that evidence. My reference to the

evidence, or my failure to refer to evidence, expresses no opinion

about the believability, accuracy, or importance of any particular

evidence.

     No matter how careful a judge may be to avoid it, there is

always the possibility that a juror may get an impression that the

judge has some opinion with reference to whether the plaintiff is

liable or not liable, or that some particular witness is more

believable than another, and so on.

     If you have formed any such impression, you must put it out

of your mind and utterly disregard it. Nothing I have said, or

questions I may have asked of a witness, was intended to give any




                                   -5-
 Case 1:22-cv-00520-MAV-JJM   Document 383-4   Filed 05/20/25   Page 11 of 63




such impression, and nothing I am about to say or how I say it is

intended to give any such impression.

     Similarly, if in the interest of advocacy, the attorneys have

done or said anything which you deem to be objectionable, you

must not let such feeling interfere with your primary duty here,

which is to judge the facts impartially and to be fair to both the

Plaintiff and the Defendant.

     It is the duty of the attorneys to offer evidence and press

objections on behalf of their side. It is my function to cut off

counsel from an improper line of argument or questioning, to

strike offending remarks, and to admonish counsel when I think

it is necessary. But you should draw no inference against the

attorney or the attorney’s client. It is irrelevant whether you like

a lawyer or whether you believe I like a lawyer.

     During the course of the trial, you may have heard some


                                   -6-
 Case 1:22-cv-00520-MAV-JJM   Document 383-4   Filed 05/20/25   Page 12 of 63




conversation between myself and the lawyers at the bench. Bear

in mind that such exchanges between myself and the lawyers did

not constitute evidence and, to the extent that you may have

overheard anything, it must be disregarded by you.

     At times during the trial, I sustained objections to questions

asked without permitting the witness to answer or, where an

answer was made, instructed that it be stricken from the record

and that you disregard the answer. You may not draw any

inference from an unanswered question, nor may you consider

testimony which has been stricken in reaching your decision. The

law requires that your decision be made solely upon the

competent evidence before you. The items I have excluded from

your consideration were excluded because I determined that they

were not admissible.

     In reaching your verdict, you may consider only the

testimony and exhibits received into evidence. Certain things are
                                   -7-
 Case 1:22-cv-00520-MAV-JJM   Document 383-4   Filed 05/20/25   Page 13 of 63




not evidence and you may not consider them in deciding what the

facts are. I will list them for you:

     1.    Arguments and unsworn statements by the lawyers are

           not evidence. What the lawyers may have said in their

           closing arguments, just like what they said in opening

           statements, and at other times during the trial, was

           intended to help you interpret the evidence but it is not

           evidence. If the facts as you remember them differ

           from the way they have been stated in closing

           arguments, your memory of the evidence controls.

     2.    Questions and objections by the attorneys are not

           evidence.     Evidence consists of a question and an

           answer, not just the question. As to objections, the

           attorneys have a duty to object when they believe a

           question is improper under the rules of evidence. You

           should not be influenced by the objection or by the way
                                   -8-
Case 1:22-cv-00520-MAV-JJM   Document 383-4   Filed 05/20/25   Page 14 of 63




          I ruled on it.

    3.    Testimony that has been excluded or stricken, or that

          you have been instructed to disregard, is not evidence

          and must not be considered. In addition, if testimony

          or exhibits have been received only for a limited

          purpose, you must follow the limiting instructions I

          have given.

    4.    Anything you may have seen or heard when the court

          was not in session is not evidence. You are to decide

          the case solely on the evidence received at this trial.

          That means you may not consider or speculate on

          matters not in evidence or matters outside the case as it

          has been presented in this courtroom.

    I would remind you now that any notes that you have taken

during this trial are only aids to your memory. If your memory

differs from your notes, you should rely on your memory and not
                                  -9-
 Case 1:22-cv-00520-MAV-JJM   Document 383-4   Filed 05/20/25   Page 15 of 63




on the notes. The notes are not in evidence. If you have not taken

notes, you should rely on your independent recollection of the

evidence and should not be unduly influenced by the notes of

other jurors. Notes are not entitled to any greater weight than the

recollection or impression of each juror about the testimony.

     Your verdict must be based solely upon the evidence

developed at this trial, or the lack of evidence. It would be

improper for you to consider any personal feelings you may have

about one of the parties’ race, religion, national origin, gender, or

age. It would be equally improper for you to allow any feelings

you might have about the nature of the claim against the

Defendant to influence you in any way. Sympathy must not play

a role in any of your decision making. During your deliberations

you must remember the oath you each took to be a fair and

impartial juror. The system cannot work unless you reach your

verdict through a fair and impartial consideration of the evidence.
                                   - 10 -
 Case 1:22-cv-00520-MAV-JJM   Document 383-4   Filed 05/20/25   Page 16 of 63




     You also must completely disregard any report which you

may have read in the press, watched on television, heard on the

radio, or seen on the internet. It would be unfair to consider such

reports, because they are not evidence, and the parties have no

opportunity to contradict their accuracy or otherwise explain them

away. It would be a violation of your oath as jurors to allow

yourselves to be influenced in any manner by such publicity.

     I will now turn to the fundamental legal principles which are

applicable to civil cases in general. These basic principles are

applicable to every civil trial conducted in all of the courts of our

country. I made reference to these principles in my preliminary

instructions at the beginning of the trial, but because of the

importance of these principles, I am going to repeat and amplify

my instructions as to each of them.

     In a civil case, a plaintiff has the burden of proving the

material allegations of the complaint by a preponderance of the
                                   - 11 -
 Case 1:22-cv-00520-MAV-JJM   Document 383-4   Filed 05/20/25   Page 17 of 63




evidence.    If after considering all of the testimony you are

satisfied that the Plaintiff has carried his burden on each essential

point as to which he has the burden of proof, then you must find

for the Plaintiff on the claim under consideration.

     If after such consideration you find the testimony of both

parties to be in balance or equally probable, then the Plaintiff has

failed to sustain his burden, and you must find for the Defendant.

     If upon consideration of all the facts, you find that the

Plaintiff has failed to sustain the burden cast upon him, then you

should proceed no further, and your verdict must be for the

Defendant.

     The Plaintiff has the burden of proving every disputed

element of a claim to you by a preponderance of the evidence.

What does “preponderance of the evidence” mean? To establish

a fact by a preponderance of the evidence means to prove that a

fact is more likely true than not true. A preponderance of the
                                   - 12 -
 Case 1:22-cv-00520-MAV-JJM   Document 383-4   Filed 05/20/25   Page 18 of 63




evidence means the greater weight of the evidence. It refers to

the quality and persuasiveness of the evidence, not to the number

of witnesses or documents. In determining whether a claim has

been proved by a preponderance of the evidence, you may

consider the relevant testimony of all witnesses, regardless of who

may have called them, and all the relevant exhibits received in

evidence, regardless of who may have introduced them.

     If you find that the credible evidence on a given issue is

evenly divided between the parties – that it is equally probable

that one side is right as it is that the other side is right – then you

must decide that issue against the Plaintiff. That is because the

Plaintiff must prove more than simple equality of evidence—the

Plaintiff must prove the element at issue by a preponderance of

the evidence. On the other hand, the Plaintiff need prove no more

than a preponderance. So long as you find that the scales tip,

however slightly, in favor of the Plaintiff—that what he claims is
                                   - 13 -
 Case 1:22-cv-00520-MAV-JJM   Document 383-4   Filed 05/20/25   Page 19 of 63




more likely true than not true—then that element will have been

proved by a preponderance of the evidence.

     In that regard, you may have heard of proof beyond a

reasonable doubt, which is the proper standard of proof in a

criminal trial. That requirement does not apply to a civil case

such as this and you should put it out of your mind.

     That concludes our discussion of the burden of proof

applicable in civil cases. I will now turn to your estimate of the

credibility of each witness’s testimony and the weight to be

accorded to such testimony.

     As judges of the facts, you alone determine the truthfulness

and accuracy of the testimony of each witness. You must decide

whether a witness told the truth and was accurate, or instead,

testified falsely or was mistaken. You must also decide what

importance to give to the testimony you accept as truthful and


                                   - 14 -
 Case 1:22-cv-00520-MAV-JJM   Document 383-4   Filed 05/20/25   Page 20 of 63




accurate. It is the quality of the testimony that is controlling, not

the number of witnesses who testify.

     There is no particular formula for evaluating the truthfulness

and accuracy of another person's statements or testimony. You

bring to this process all of your varied experiences. In life, you

frequently decide the truthfulness and accuracy of statements

made to you by other people. The same factors used to make those

decisions, should be used in this case when evaluating the

testimony.

           Some of the factors that you may wish to consider in

evaluating the testimony of a witness are as follows:

           • Did the witness have an opportunity to see or hear

              the events about which he or she testified?

           • Did the witness have the ability to recall those

              events accurately?


                                   - 15 -
Case 1:22-cv-00520-MAV-JJM   Document 383-4   Filed 05/20/25   Page 21 of 63




          • Was the testimony of the witness plausible and

             likely to be true, or was it implausible and not likely

             to be true?

          • Did the manner in which the witness testified reflect

             upon the truthfulness of that witness’s testimony?

          • To what extent, if any, did the witness's

             background, training, education, or experience

             affect the believability of that witness's testimony?

          • What was the demeanor of the witness when

             testifying? Did the witness have a conscious bias,

             hostility or some other attitude that affected the

             truthfulness of the witness’s testimony?

          • Did the witness show an “unconscious bias,” that is,

             a bias that the witness may have even unknowingly

             acquired from stereotypes and attitudes about

             people or groups of people, and if so, did that
                                  - 16 -
Case 1:22-cv-00520-MAV-JJM   Document 383-4   Filed 05/20/25   Page 22 of 63




             unconscious bias impact that witness’s ability to be

             truthful and accurate.

          • You may consider whether a witness had, or did not

             have, a motive to lie.

          • If a witness had a motive to lie, you may consider

             whether and to what extent, if any, that motive

             affected the truthfulness of that witness’s testimony.

          • If a witness did not have a motive to lie, you may

             consider that as well in evaluating the witness’s

             truthfulness.

          • You may consider whether a witness has any

             interest in the outcome of the case, or instead,

             whether the witness has no such interest.

          • You are not required to reject the testimony of an

             interested witness, or to accept the testimony of a


                                  - 17 -
 Case 1:22-cv-00520-MAV-JJM   Document 383-4   Filed 05/20/25   Page 23 of 63




              witness who has no interest in the outcome of the

              case.

           • You may, however, consider whether an interest in

              the outcome, or the lack of such interest, affected

              the truthfulness of the witness's testimony.

  You may consider whether a witness made statements at this

trial that are inconsistent with each other. You may also consider

whether a witness made previous statements that are inconsistent

with his or her testimony at trial. You may consider whether a

witness testified to a fact here at trial that the witness omitted to

state, at a prior time, when it would have been reasonable and

logical for the witness to have stated the fact. In determining

whether it would have been reasonable and logical for the witness

to have stated the omitted fact, you may consider whether the

witness’ attention was called to the matter and whether the

witness was specifically asked about it. If a witness has made such
                                   - 18 -
 Case 1:22-cv-00520-MAV-JJM   Document 383-4   Filed 05/20/25   Page 24 of 63




inconsistent statements or omissions, you may consider whether

and to what extent they affect the truthfulness or accuracy of that

witness’s testimony here at this trial. The contents of a prior

inconsistent statement are not proof of what happened. You may

use evidence of a prior inconsistent statement only to evaluate the

truthfulness or accuracy of the witness’s testimony here at trial.

           • You may consider whether a witness’s testimony is
              consistent with the testimony of other witnesses or
              with other evidence in the case.
           • If there were inconsistencies by or among
              witnesses, you may consider whether they were
              significant inconsistencies related to important
              facts, or instead were the kind of minor
              inconsistencies that one might expect given the
              circumstances of this case.
     I permitted Mr. Hirsch, Mr. Zeidman, Dr. Drobb, and Mr.

Gagan to express their opinions about matters that are in issue. A

witness may be permitted to testify to an opinion on those matters
                                   - 19 -
 Case 1:22-cv-00520-MAV-JJM   Document 383-4   Filed 05/20/25   Page 25 of 63




about which they have special knowledge, skill, experience, and

training. Such testimony is presented to you on the theory that

someone who is experienced and knowledgeable in the field can

assist you in understanding the evidence or in reaching an

independent decision on the facts. In weighing this opinion

testimony, you may consider the witness’s qualifications, their

opinions, the reasons for testifying, as well as all of the other

considerations that ordinarily apply when you are deciding

whether or not to believe a witness’s testimony. In addition,

because they gave their opinions, you should consider the

soundness of each opinion, the reasons for the opinion, and the

witness’s motive, if any, for testifying.           You may give the

testimony of this witness such weight, if any, that you think it

deserves in light of all the evidence. You should not permit a

witness’s opinion testimony to be a substitute for your own

reason, judgment, and common sense. You may reject the
                                   - 20 -
 Case 1:22-cv-00520-MAV-JJM   Document 383-4   Filed 05/20/25   Page 26 of 63




testimony of any opinion witness in whole or in part, if you

conclude the reasons given in support of an opinion are unsound

or, if you, for other reasons, do not believe the witness. The

determination of the facts in this case rests solely with you.

     In this case you also heard the testimony of police officers

and/or former prosecutors. The testimony of a witness should not

be believed solely and simply because the witness was a police

officer or prosecutor. At the same time, a witness’s testimony

should not be disbelieved solely and simply because the witness

was a police officer or prosecutor. You must evaluate their

testimony in the same way you would evaluate the testimony of

any other witness.

     As to the witnesses who testified, even if you find that the

testimony given by any witness was not contradicted by any other

evidence in the case, such finding does not relieve you of your

duty and responsibility to evaluate the credibility of the witness
                                   - 21 -
 Case 1:22-cv-00520-MAV-JJM   Document 383-4   Filed 05/20/25   Page 27 of 63




and to make your own determination of what weight, if any, that

you will give such testimony.

     By the processes that I have just described, you as the sole

and exclusive judge of the facts will determine which of the

witnesses you believe, what portion of their testimony you accept,

and what weight you will give it.

     Now, of course, facts must be proven by evidence. The

evidence from which you are to decide what the facts are consists

of sworn testimony of witnesses, both on direct and cross-

examination and any re-direct and re-cross examination,

regardless of who called the witness, the exhibits that have been

received into evidence, regardless of who introduced them, and

any stipulations between the parties. Keep in mind that the law

does not require any party to call as a witness every person who

might have knowledge of the facts related to this trial. Similarly,


                                   - 22 -
 Case 1:22-cv-00520-MAV-JJM   Document 383-4   Filed 05/20/25   Page 28 of 63




the law does not require any party to present as exhibits all papers

and things mentioned during this trial.

     As to evidence, there are two kinds: direct and

circumstantial. Direct evidence is when a witness testifies about

something they know by virtue of their own senses – something

they have seen, felt, touched, or heard. Direct evidence may also

be in the form of an exhibit when the fact to be proved is its

present existence or condition.

     The other type of evidence is circumstantial evidence. This

is evidence which tends to prove a disputed fact by proof of other

facts. There is a simple example of circumstantial evidence

which is often used in this courthouse.

     Assume that when you came into the courthouse this

morning the sun was shining, and it was a nice day. As you were

sitting here, someone walked in with an umbrella which was

dripping wet. Then a few minutes later another person also
                                   - 23 -
 Case 1:22-cv-00520-MAV-JJM   Document 383-4   Filed 05/20/25   Page 29 of 63




entered with a wet umbrella. Now, you cannot look outside of the

courtroom, and you cannot see whether or not it is raining. So

you have no direct evidence of that fact. But on the combination

of facts which I have asked you to assume, it would be reasonable

and logical for you to conclude that it had been raining.

     That is all there is to circumstantial evidence. You infer on

the basis of reason and experience and common sense from one

established fact the existence or non-existence of some other fact.

     Circumstantial evidence is of no less value than direct

evidence, for it is a general rule that the law makes no distinction

between direct evidence and circumstantial evidence but simply

requires that your verdict must be based on a preponderance of all

the evidence presented.

II. Specific Instructions

     This completes my discussion of the general principles of

law applicable to all civil trials. Let us turn our attention to the
                                   - 24 -
 Case 1:22-cv-00520-MAV-JJM   Document 383-4   Filed 05/20/25   Page 30 of 63




definitions and rules applicable to each of the specific causes of

action that will be submitted to you for your final determination.

     Mr. Walker brings his claim under a federal civil rights law:

Title 42 U.S.C. § 1983. This law provides that any person or

persons who, under the color of state law, deprives another of any

rights, privileges, or immunities secured by the United States

Constitution and federal statutes, shall be liable to the injured

party.

     This Section 1983 claim in this case is called a “Monell”

claim, which simply means that the “person” the Plaintiff is

attempting to hold liable is a municipality – here, the County of

Erie—and not a specific individual. The Plaintiff has the burden

of proving each essential element of his claim by a preponderance

of the evidence. To prove an assertion by a preponderance of the

evidence means proving that it is more likely true than not true.


                                   - 25 -
 Case 1:22-cv-00520-MAV-JJM   Document 383-4   Filed 05/20/25   Page 31 of 63




     To succeed on this claim, the Plaintiff must prove each of

the following three elements by a preponderance of the evidence:



1.   First, that an official or officials of Erie County acted under

the color of state law;

2.   Second, that an official or officials of Erie County, by their

conduct, deprived Mr. Walker of rights, privileges, or immunities

secured by the Constitution or laws of the United States—here,

his right to a fair trial; and

3.   Third, that such conduct by an official or officials of Erie

County, was caused by a widespread policy, practice, or custom

of the County of Erie, the municipality at issue in this case, such

that the County’s policy was the “moving force” behind the

violation of Mr. Walker’s constitutional rights.

     I will describe each of these elements in more detail.


                                   - 26 -
 Case 1:22-cv-00520-MAV-JJM   Document 383-4    Filed 05/20/25   Page 32 of 63




     On the first element, there is no dispute in this case that the

Erie County Assistant District Attorneys handling Mr. Walker’s

criminal conviction were acting under the color of state law.

Therefore, I instruct that this first element is met.

     On the second, Mr. Walker alleges that two types of

constitutional violations occurred—that Erie County Assistant

District    Attorneys    failed     to      disclose    exculpatory       and

impeachment evidence that was material to Plaintiff’s defense in

his criminal case (what you’ve heard referred to many times

throughout trial as “Brady evidence”), and also that an Erie

County Assistant District Attorney’s conduct during their

summation “caused substantial prejudice by so infecting the trial

with unfairness as to make the resulting conviction a denial of due

process.”




                                   - 27 -
 Case 1:22-cv-00520-MAV-JJM   Document 383-4   Filed 05/20/25   Page 33 of 63




     Before discussing the third element to Mr. Walker’s Monell

claim, I will explain the law on the two constitutional violations

that Mr. Walker contends occurred.

Brady Violation

     The first alleged constitutional violation alleged by Mr.

Walker involves what has been referred to in the trial as a “Brady

violation.” To prove a Brady violation, Mr. Walker must prove

the following by a preponderance of the evidence:

1.   First, that evidence allegedly withheld from his defense was

“favorable” to his defense—meaning that the evidence was

“exculpatory” and/or “impeaching”;

2.   Second, that this favorable evidence was “suppressed”—

meaning that the prosecutor, either willfully or inadvertently, did

not disclose information in a manner that allowed the accused to

reasonably make beneficial use of the evidence; and


                                   - 28 -
 Case 1:22-cv-00520-MAV-JJM   Document 383-4   Filed 05/20/25   Page 34 of 63




3.   Third, that the cumulative effect of the suppressed favorable

evidence was “material” to Mr. Walker’s criminal trial—meaning

that the cumulative effect of the evidence suppressed undermines

confidence in the outcome of the trial, based on the evidence that

was actually presented at Mr. Walker’s criminal trial.

     Evidence is “exculpatory” if it tends to establish that the

accused is not guilty of the crime or “casts serious doubt on their

guilt.” Favorable evidence includes exculpatory evidence tending

to show that someone other than the accused may have committed

the crime. Evidence is “impeaching” if it would have tended to

make the jury at the 1977 criminal trial less likely to believe a

witness who testified against the accused at the criminal trial.

Evidence may also be favorable to the defense if it would

reasonably permit the defense to attack the reliability, carefulness,

or good faith of the police investigation.


                                   - 29 -
 Case 1:22-cv-00520-MAV-JJM   Document 383-4   Filed 05/20/25   Page 35 of 63




     The issue is not whether a document itself is entirely

favorable to the defense—in other words that the document

contains only favorable information—but whether a document

contains some information that was favorable to the defense. In

other words, the Plaintiff is not required to prove that every piece

of information in a document is “favorable” to trigger a

prosecutor’s disclosure obligations.

     When there is any interpretation of the evidence that could

be deemed favorable to the defense, then it must be disclosed. A

prosecutor’s own assessment that certain evidence is not reliable

does not negate the prosecutor’s disclosure obligations.

Furthermore, a defense attorney’s knowledge of some

impeachment information does not lessen the prosecutor’s

obligation to disclose other impeachment information not known

to the defense.


                                   - 30 -
 Case 1:22-cv-00520-MAV-JJM   Document 383-4   Filed 05/20/25   Page 36 of 63




     “Suppression” of favorable evidence assesses whether the

accused was reasonably able to make beneficial use of that

information at trial. This may mean that information was not

disclosed at all, or that the favorable information was disclosed

too late for the accused to reasonably make beneficial use of that

evidence at trial.

     Further, the issue is not merely whether a document itself

was disclosed to the defense, but whether favorable information

contained therein was disclosed. For example, even if a specific

document was not disclosed, if substantive information contained

in that document was “in the purview” of Mr. Walker’s defense

by another means, such information would not be “suppressed.”

Additionally, if a portion of the favorable information contained

in a document is deemed disclosed, that, alone, would not permit

you to find that all of the favorable information contained in that

document was in fact disclosed.
                                   - 31 -
 Case 1:22-cv-00520-MAV-JJM   Document 383-4   Filed 05/20/25   Page 37 of 63




     As of the time of Mr. Walker’s 1977 criminal trial, the

United States Supreme Court had ruled that prosecutors are

obligated to turn over favorable evidence to the defense even

without a specific request by the defense.

     You have heard some evidence about the criminal trials of

Mr. Gibson, Mr. Boyd, and Mr. Martin—Mr. Walker’s co-

defendants. As I mentioned though, materiality is assessed in light

of the evidence adduced against Mr. Walker at his trial and is an

objective test. Moreover, Mr. Walker does not have to prove that

he would have been acquitted due to the cumulative effect of

withheld favorable evidence, but rather must prove by a

preponderance of the evidence that the cumulative effect of

withheld favorable evidence undermines confidence in the

outcome of his trial.




                                   - 32 -
 Case 1:22-cv-00520-MAV-JJM   Document 383-4   Filed 05/20/25   Page 38 of 63




Summation Misconduct

     To prove that Erie County Assistant District Attorney, David

Henry, violated Mr. Walker’s right to a fair trial through

summation misconduct, Mr. Walker must prove that Mr. Henry’s

conduct during summation, also called closing argument, “caused

substantial prejudice by so infecting the trial with unfairness as to

make the resulting conviction a denial of due process” by a

preponderance of the evidence.

     In assessing whether summation misconduct caused

‘substantial prejudice,’ you must consider “the severity of the

misconduct, the measures adopted to cure the misconduct, and the

certainty of conviction absent the misconduct.”

     Prosecutors may fairly comment on the evidence introduced

at trial and make argument in response to defense counsel’s

closing argument. However, prosecutors may not, for example,

make false or misleading arguments, vouch for the credibility of
                                   - 33 -
 Case 1:22-cv-00520-MAV-JJM   Document 383-4   Filed 05/20/25   Page 39 of 63




witnesses, make inflammatory remarks, appeal to racial

prejudice, or shift the burden of proof to the criminal defendant.

If you find that Erie County Assistant District Attorney David

Henry made one or more improper remarks during his summation

in the Walker criminal trial, you must assess whether these

remark(s) infected the trial with such unfairness to deprive Mr.

Walker’s due process right to a fair trial. You may also consider

whether any comments by the prosecutor in summation tended to

exploit the withholding of favorable, withheld information. If you

find that Mr. Henry made more than one improper remark during

summation, you must consider the cumulative effect of these

remarks on the fairness of the trial.

Policy Evidence

     If you find that Mr. Walker’s constitutional right or rights

were violated, you must consider the cause of such violation or

violations. Specifically, you must determine whether a municipal
                                   - 34 -
 Case 1:22-cv-00520-MAV-JJM   Document 383-4   Filed 05/20/25   Page 40 of 63




policy was the “moving force” behind the Erie County Assistant

District Attorneys’ violation or violations of Mr. Walker’s

constitutional rights.

     A municipality such as the County of Erie may not be held

liable for the actions of its employees simply because they are

employed by the County. Rather, an official unconstitutional

policy, practice, or custom of the Defendant must exist and be the

moving force behind the Erie County Assistant District

Attorneys’ specific actions in this case to establish the County’s

liability to Mr. Walker.

     To establish a claim against the County based on an

unconstitutional policy, practice, or custom, Mr. Walker must

prove that the County adopted such a policy through the

deliberate choice or acquiescence of a policymaker on behalf of

the municipality. A policymaker is an official or a body to whom

the County has given final policymaking authority. The actions of
                                   - 35 -
 Case 1:22-cv-00520-MAV-JJM   Document 383-4   Filed 05/20/25   Page 41 of 63




that official of body represent a decision by the County itself, and

the county is responsible for them.

     I instruct you that the policymaker in this case is the Erie

County District Attorney at the time of Mr. Walker’s criminal

investigation and prosecution – Mr. Edward Cosgrove.

     Mr. Walker must prove by a preponderance of the evidence

that each alleged violation of his constitutional rights was not an

isolated incident but was part of a policy of the County of Erie

specific to the type of violation. This means that you must analyze

policies of the County of Erie separately with respect to each of

the two types of Mr. Walker’s alleged constitutional violations –

Brady violation and summation misconduct.

     A policy need not be in writing or be labeled a “policy.”

There need not be a formal statement of policy. A policy may be

inferred from the informal acts or omissions of the District

Attorney or his designees. This includes a situation where the
                                   - 36 -
 Case 1:22-cv-00520-MAV-JJM   Document 383-4   Filed 05/20/25   Page 42 of 63




District Attorney knew about the improper actions or failure to

act by other prosecutors in the Ere County District Attorney’s

office by virtue of his position and allowed them to continue.

Policies re. Brady Violation

     With respect to the Erie County Assistant District Attorneys’

alleged Brady violation or violations, Mr. Walker alleges there

are three kinds of municipal policies that caused such Brady

violations in his case. If you find that the Erie County Assistant

District Attorneys failed to disclose favorable, material evidence

to Mr. Walker’s defense, Mr. Walker need only prove one

unconstitutional County policy caused such Brady violation by a

preponderance of the evidence.

     First, Mr. Walker contends the Defendant had a persistent,

widespread custom, or “pattern of conduct,” of failing to disclose

favorable, material evidence to criminal defendants. You may

infer that a custom existed in the Erie County District Attorney’s
                                   - 37 -
 Case 1:22-cv-00520-MAV-JJM   Document 383-4   Filed 05/20/25   Page 43 of 63




Office even if Erie County did not formally approve such custom,

so long as you conclude that the District Attorney knew of acts of

misconduct and did not act to prevent them from continuing. This

includes a situation where the District Attorney must have known

about the actions or failure to act by other prosecutors in the Erie

County District Attorney’s Office by virtue of his position and

allowed them to continue.

     Alternately, Mr. Walker alleges that the Defendant had a

policy of “deliberate indifference” towards criminal defendants’

rights to a fair trial under Brady because, prior to June 1977, the

policymaker was on sufficient notice of such repeated violations

by Erie County Assistant District Attorneys and failed to

discipline Erie County Assistant District Attorneys for these

violations. Deliberate indifference is more than negligence. It is a

conscious disregard on the part of the County for the known or

obvious consequences of its actions in failing to discipline
                                   - 38 -
 Case 1:22-cv-00520-MAV-JJM   Document 383-4   Filed 05/20/25   Page 44 of 63




prosecutors when they violated the constitutional rights of

criminal defendants by failing to disclose favorable, material

evidence.

     As a third alternative, Mr. Walker alleges that the Defendant

had a policy of “deliberate indifference” towards criminal

defendants’ rights to a fair trial under Brady because, prior to June

1977, the policymaker was on sufficient notice of such repeated

violations Erie County Assistant District Attorneys and failed to

train Erie County Assistant District Attorneys to prevent these

violations from continuing. Again, deliberate indifference is more

than negligence. It is a conscious disregard on the part of the

County for the known or obvious consequences of its actions in

failing to train prosecutors when they violated the constitutional

rights of criminal defendants by failing to disclose favorable,

material evidence.


                                   - 39 -
 Case 1:22-cv-00520-MAV-JJM   Document 383-4   Filed 05/20/25   Page 45 of 63




     If you find that Mr. Walker has proven the existence of any

of these policies, you must determine whether such policy or

policies directly caused a constitutional Brady violation or

violations in Mr. Walker’s case. Again, the Defendant’s policy

must be the “moving force” behind this specific type of violation

of Mr. Walker’s constitutional rights.

Policies re. Summation Misconduct

     With respect to Mr. David Henry’s alleged summation

misconduct, Mr. Walker alleges there are two types of municipal

policies that caused such summation misconduct. If you find that

Mr. Henry violated Mr. Walker’s constitutional rights through his

summation, Mr. Walker need only prove that one type of County

policy caused such summation violation by a preponderance of

the evidence.

     First, Mr. Walker contends the Defendant had a persistent,

widespread custom, or “pattern of conduct,” of engaging in
                                   - 40 -
 Case 1:22-cv-00520-MAV-JJM   Document 383-4   Filed 05/20/25   Page 46 of 63




summation misconduct that deprived criminal defendants of a

right to a fair trial. You may infer that a custom existed in the Erie

County District Attorney’s Office even if Erie County did not

formally approve such custom, so long as you conclude that the

District Attorney knew of acts of misconduct and did not act to

prevent them from continuing. This includes a situation where the

District Attorney must have known about the actions or failure to

act by other prosecutors in the Erie County District Attorney’s

Office by virtue of his position and allowed them to continue.

     Alternately, Mr. Walker alleges that the Defendant had a

policy of “deliberate indifference” towards criminal defendants’

rights to a fair trial because, prior to June 1977, the policymaker

was on sufficient notice of repeated summation violations of Erie

County Assistant District Attorneys and failed to discipline Erie

County Assistant District Attorneys for these violations.

Deliberate indifference is more than negligence. It is a conscious
                                   - 41 -
 Case 1:22-cv-00520-MAV-JJM   Document 383-4   Filed 05/20/25   Page 47 of 63




disregard on the part of the County for the known or obvious

consequences of its actions in failing to discipline prosecutors

when they violated the constitutional rights of criminal

defendants by engaging in summation misconduct.

     If you find that Mr. Walker has proven the existence of either

of these policies, you must determine whether such policy or

policies directly caused a constitutional summation violation in

Mr. Walker’s case. Again, the Defendant’s policy must be the

“moving force” behind this specific type of violation of Mr.

Walker’s constitutional rights.



III. Damages

     That concludes our discussion of the Plaintiff’s causes of

action. Now we will turn to the instruction on damages. Keep in

mind, my charge to you on the law of damages must not be taken

as a suggestion that you should find for the Plaintiff. It is for you
                                   - 42 -
 Case 1:22-cv-00520-MAV-JJM   Document 383-4   Filed 05/20/25   Page 48 of 63




to decide on the evidence presented and the rules of law I have

given you whether the Plaintiff is entitled to recover from the

Defendant. If you decide that the Plaintiff is not entitled to

recover from the Defendant, you need not consider damages.

Only if you decide that the Plaintiff is entitled to recover will you

consider the measure of damages.

     If you find that the Plaintiff is entitled to recover from the

Defendant, you must render a verdict for a sum of money that will

justly and fairly compensate the Plaintiff for all the losses

resulting from any injury or injuries he sustained.

     The purpose of the law of damages is to award, as far as

possible, just and fair compensation for the loss, if any, which

resulted from the Defendant’s violation of Plaintiff’s rights. If

you find that the Defendant is liable, then you must award the

Plaintiff sufficient damages to compensate him for any injury

proximately caused by the Defendant’s conduct. Again, an injury
                                   - 43 -
 Case 1:22-cv-00520-MAV-JJM   Document 383-4   Filed 05/20/25    Page 49 of 63




is proximately caused by conduct when a reasonable person

would regard it as a substantial factor in bringing about such

injury.

     Compensatory or actual damages seek to make a plaintiff

whole – that is, to compensate him for the damage suffered.

Furthermore, compensatory damages are not limited merely to

expenses that a plaintiff may have sustained.                   A prevailing

plaintiff is entitled to compensatory damages both for the physical

injury and pain and suffering that he has suffered because of a

defendant’s conduct.

     I remind you that you may award compensatory damages

only for injuries that the Plaintiff proves were proximately caused

by the Defendant’s allegedly wrongful conduct. The damages

that you award must be fair and reasonable, neither inadequate

nor excessive. You should not award compensatory damages for

speculative damages, but only for those injuries that the Plaintiff
                                   - 44 -
 Case 1:22-cv-00520-MAV-JJM   Document 383-4   Filed 05/20/25   Page 50 of 63




has actually suffered or which he is reasonably likely to suffer in

the future.

     In awarding compensatory damages, if you decide to award

them, you must be guided by dispassionate common sense.

Computing damages may be difficult, but you must not let that

difficulty lead you to engage in arbitrary guesswork. On the other

hand, the law does not require a plaintiff to prove the amount of

his losses with mathematical precision, but only with as much

definiteness and accuracy as the circumstances permit.

     In all instances, you are to use sound discretion in fixing an

award of damages, drawing reasonable inferences where you

deem appropriate from the facts and circumstances in evidence.

     With respect to Plaintiff’s constitutional claim, if you return

a verdict for the Plaintiff, but find that the Plaintiff has failed to

prove by a preponderance of the evidence that he suffered any

compensatory damages, then you must return an award of
                                   - 45 -
 Case 1:22-cv-00520-MAV-JJM   Document 383-4   Filed 05/20/25   Page 51 of 63




damages in some nominal token amount, not to exceed the sum

of one dollar.

     Nominal damages must be awarded when a plaintiff has

been deprived by a defendant of a constitutional right but has

suffered no actual damage as a natural consequence of that

deprivation.     The mere fact that a constitutional deprivation

occurred is an injury to the person entitled to enjoy that right, even

when no actual damages flow from the deprivation. Therefore, if

you find that the Plaintiff has suffered no injury as a result of the

Defendant’s conduct other than the fact of a constitutional

deprivation, you must award nominal damages not to exceed one

dollar.

     You may also award nominal damages if, upon a finding that

some injury resulted from a given unlawful act, you find that you

are unable to compute monetary damages except by engaging in

pure speculation and guessing. You may not award both nominal
                                   - 46 -
 Case 1:22-cv-00520-MAV-JJM   Document 383-4   Filed 05/20/25   Page 52 of 63




and compensatory damages to the Plaintiff; either he was

measurably injured, in which case you must award compensatory

damages, or else he was not, in which case you may award

nominal damages. Nominal damages may not be awarded for

more than a token sum.

     I would note that if you do consider the last question in the

Damages section of the Verdict Sheet that will be provided to you

during your deliberations, you will be asked to apportion fault for

the total damages that Mr. Walker suffered based on what you

determine to be the relative culpable conduct of the County of

Erie and the culpable conduct of the Buffalo Police Department.



IV. Concluding Instructions

     I have now outlined for you the rules of law that apply to this

case and the processes by which you weigh the evidence and

decide the facts. In a few minutes you will retire to the jury room
                                   - 47 -
 Case 1:22-cv-00520-MAV-JJM   Document 383-4   Filed 05/20/25   Page 53 of 63




for your deliberations. In order for your deliberations to proceed

in an orderly fashion, you must have a foreperson, but of course,

their vote is entitled to no greater weight than that of any other

juror. Mr. Kugler, you are the foreperson. Your responsibilities

will be to make sure that everyone has an opportunity to

participate during deliberations, to communicate with the Court if

the jury has a question, to tell us when the jury has reached a

verdict, and, of course, to announce the verdict. If you need to

communicate with me, that is, if you have a question or if you

want to indicate that you have a verdict, you need to do so in

writing and sign the note.

     If, in the course of your deliberations, your recollection of

any part of the testimony should fail, or you should have any

question about my instructions to you on the law, you have the

right to return to the courtroom for the purpose of having such

testimony or instructions read to you. A copy of my instructions
                                   - 48 -
 Case 1:22-cv-00520-MAV-JJM   Document 383-4   Filed 05/20/25   Page 54 of 63




is not sent back into the jury room. However, with respect to

reading back testimony, keep in mind that it takes just as long to

read testimony back as it did for a witness to testify in the first

instance. For example, if it took a particular witness one hour to

testify, then it will take approximately one hour to read that

witness’ testimony back. Therefore, if you desire just a portion

of the witness’ testimony, please indicate that, or else the entire

testimony, both direct and cross-examination, will be read. Also,

if you request testimony, certain things need to occur before it can

be read back. First, our court reporter, must find the requested

testimony in her notes. Second, we must all reassemble here in

court before the testimony can be read to you. I’m telling you this

not to discourage you from requesting that testimony be read back

if you have a question, but rather to explain that it will take a

period of time to comply with your request.

     In deciding the case, you may consider only the exhibits
                                   - 49 -
 Case 1:22-cv-00520-MAV-JJM   Document 383-4   Filed 05/20/25   Page 55 of 63




which have been admitted into evidence, the testimony of the

witnesses as you have heard such testimony in this courtroom,

and any stipulations between the parties. As to the exhibits that

were received into evidence, they will be sent into the jury room.

     Your verdict must represent the considered judgment of each

juror. In order to return a verdict, it is necessary that each juror

agree. Your verdict must be unanimous.

     Additionally, to assist you during your final deliberations, I

have prepared a “verdict sheet” which contains the list of

questions that you will answer, after careful consideration of all

the evidence in accordance with my instructions. Each of the

questions calls for a “yes or no” answer, or some numerical figure.

Please make sure you follow the directions indicated on the

verdict sheet carefully and consistent with the instructions

provided. And again, your verdict must be unanimous.

     As I mentioned, this verdict sheet contains the list of
                                   - 50 -
 Case 1:22-cv-00520-MAV-JJM   Document 383-4   Filed 05/20/25   Page 56 of 63




questions that you will answer, after careful consideration of all

the evidence in accordance with my instructions. Do not assume

from the questions or from their order what your answers should

be. That is, of course, for you to decide. When you have all

agreed upon an answer, there will be just one verdict sheet back

with you in the jury deliberation room. When you all agree on an

answer, Mr. Kugler should record the answer in the space

provided. When you reach a verdict, merely indicate on a note

that you have done so. Do not include the verdict sheet with

your note and do not indicate in any way what the verdict is.

Mr. Kugler should retain possession of the verdict sheet until the

verdict has been announced in court.

     Ms. Popp will bring a copy of the verdict sheet to the jury

room when you retire for your final deliberations. If, at any time

during your deliberations, you have any questions concerning

your use of the verdict sheet and/or exhibit list, or any questions
                                   - 51 -
 Case 1:22-cv-00520-MAV-JJM   Document 383-4   Filed 05/20/25   Page 57 of 63




concerning any of my instructions, please feel free to send a note

in writing, and we will respond as promptly as possible to your

inquiry. The note needs to be completed by Mr. Kugler, put in an

envelope, sealed, and signed on the seal with the date and time of

the note.

     Members of the jury, please remember at all times that you

are not advocates for one side or the other. Rather, you are

judges—judges of the facts. Your sole interest is to seek the truth

from the evidence in this case. In reaching your verdict, you are

not to be affected by sympathy, bias, or prejudice. Nor must you

let any personal feelings concerning the nature of the causes of

action alleged interfere with your decision-making process.

Further, you must not be influenced by what you might believe

the reaction to your verdict will be, whether it will please or

displease anyone, be popular or unpopular, or indeed, any

consideration outside the case as it has been presented to you in
                                   - 52 -
 Case 1:22-cv-00520-MAV-JJM   Document 383-4   Filed 05/20/25   Page 58 of 63




this courtroom. You should consider only the evidence—both the

testimony and exhibits, find the facts from what you consider to

be the believable evidence, and apply the law as I have given it to

you, to those facts. Your verdict will be determined by the

conclusions thus reached.

     Also, keep in mind that your function to reach a decision

based on the evidence and the law is a very important one. When

you are in the jury room, listen to each other, and discuss the

evidence and issues in the case among yourselves. It is the duty

of each of you, as jurors, to consult with one another, and to

deliberate with a view toward reaching agreement on a verdict, if

you can do so without violating your individual judgment and

your conscience.       While you should not surrender honest

convictions of what the truth is and of the weight and effect of the

evidence, and while each of you must decide the case yourself and

not merely consent to the decision of other members of the jury,
                                   - 53 -
 Case 1:22-cv-00520-MAV-JJM   Document 383-4   Filed 05/20/25   Page 59 of 63




you should examine the issues and the evidence before you with

candor and frankness, and with proper respect and regard for the

opinions of each other.

     Additionally, if somebody needs to take a break during the

deliberations—for instance, a bathroom break, that is fine, but

deliberations must stop until the juror returns from the break. In

other words, you may only deliberate when all jurors are present

together.

     Members of the jury, this case is obviously important to both

the Plaintiff and to the Defendant. Therefore, they and I rely upon

you to give full and conscientious attention and consideration to

the issues and evidence before you. By doing so, you will carry

out to the fullest your oaths as jurors to truly try the issues of this

case and to render a true verdict.




                                   - 54 -
Case 1:22-cv-00520-MAV-JJM       Document 383-4       Filed 05/20/25   Page 60 of 63




                    UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NEW YORK


JOHN WALKER, JR.,

                                                 Case No. 1:22-cv-00520
Plaintiff,

                   v.

THE COUNTY OF ERIE,


Defendant.

                          SPECIAL VERDICT FORM

                        PLAINTIFF’S MONELL CLAIM

                               Section I: Liability

      Alleged “Brady” Violation(s)

  1. Do you find that the Plaintiff has demonstrated by a preponderance of the
     evidence that prosecutors at the Erie County District Attorney’s Office violated
     Mr. Walker’s constitutional right to a fair criminal trial in 1977 due to the
     failure to disclose material exculpatory and/or impeachment (Brady) evidence?

      ____ Yes

      ____ No

      If NO, please do not answer Question 2 and proceed to Question 3.

  2. Do you find that the Plaintiff has demonstrated by a preponderance of the
     evidence that a policy, custom, or practice of the Erie County District
     Attorney’s Office, as attributed to the County of Erie, caused the violation of
     Mr. Walker’s constitutional right to a fair criminal trial in 1977 due to the
     failure to disclose material exculpatory and/or impeachment (Brady) evidence?

      ____ Yes

      ____ No


                                         1
 Case 1:22-cv-00520-MAV-JJM      Document 383-4     Filed 05/20/25   Page 61 of 63




     Alleged Summation Misconduct

     Regardless of your answer, please proceed to Question 3.

  3. Do you find that the Plaintiff has demonstrated by a preponderance of the
     evidence that Mr. David Henry, a former prosecutor at the Erie County District
     Attorney’s Office, violated Mr. Walker’s constitutional right to a fair criminal
     trial in 1977 due to summation misconduct?

     ____ Yes

     ____ No

     If NO, please do not answer Question 4.

  4. Do you find that the Plaintiff has demonstrated by a preponderance of the
     evidence that a policy, custom, or practice of the Erie County District
     Attorney’s Office, as attributed to the County of Erie, caused the violation of
     Mr. Walker’s right to a fair criminal trial in 1977 due to summation misconduct
     by Mr. David Henry?

     ____ Yes

     ____ No



If you answered YES in response to Questions 2 or 4, please proceed to Section
II. If you answered NO to both Questions in 2 and 4, then you should not
answer any more questions and should proceed to the Signature Page.




                                         2
 Case 1:22-cv-00520-MAV-JJM      Document 383-4     Filed 05/20/25   Page 62 of 63




                              Section II: Damages

  5. If you answered YES to either or both of Questions 2 and 4, please identify on
     the line below the total amount of compensatory damages that you find Mr.
     Walker is entitled to for the period beginning on June 13, 1977 (the date of Mr.
     Walker’s conviction) until the present:


     $ ________________________

  Please proceed to Question 6.

  6. Do you find that the Defendant, the County of Erie, has demonstrated by a
     preponderance of the evidence that the Buffalo Police Department and/or its
     employees also contributed to Mr. Walker’s total amount of compensatory
     damages?

     ____ Yes

     ____ No

  If NO, please do not answer Question 7 and proceed to the Signature Page.

  7. Please apportion fault for the total damages that Mr. Walker suffered based
     on what you determine to be the relative culpable conduct of the County of Erie
     and the culpable conduct of the Buffalo Police Department. Please utilize
     percentages in your apportionment, totaling 100%.

     ______% County of Erie
     ______% Buffalo Police Department



STOP: Please proceed to the Signature Page.




                                         3
 Case 1:22-cv-00520-MAV-JJM       Document 383-4        Filed 05/20/25   Page 63 of 63



                                  Signature Page


Instructions to the Foreperson:     Once you have indicated the jury’s answers to

the questions above and have been directed by the instructions to the signature page,

simply sign and date this page in the space provided below. Then inform the court

security officer that you have finished deliberating.



By his/her signature below, the jury foreperson affirms that the above are the

answers of the unanimous jury in the case of John Walker, Jr. v. The County of Erie,

1:22-cv-00520.




                                              ______________________________
                                              James Kugler, FOREPERSON

Dated: April ____, 2025




                                          4
